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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                 EL PASO DIVISION


 LEAGUE OF UNITED LATIN AMERICAN
 CITIZENS (LULAC), et al.,

                        Plaintiffs,
                                                         Civil Action No. 3:21-cv-259
                v.                                       (DCG-JES-JVB)
                                                         (consolidated cases)
 GREGORY W. ABBOTT, et al.,

                        Defendants.



 UNITED STATES’ NOTICE THAT PLAINTIFFS NO LONGER INTEND TO DEPOSE
                 TEXAS HOUSE SPEAKER DADE PHELAN


       Pursuant to this Court’s order of July 12, 2022, ECF No. 429, the United States hereby

provides notice that Plaintiffs no longer seek to depose House Speaker Dade Phelan.



       Date: July 19, 2022

                                            Respectfully submitted,
                                            REBECCA BOND
                                            Acting Deputy Assistant Attorney General
                                            Civil Rights Division

                                            /s/ Michelle Rupp
                                            T. CHRISTIAN HERREN, JR.
                                            TIMOTHY F. MELLETT
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                                 CERTIFICATE OF SERVICE
        I hereby certify that on July 19, 2022, I electronically filed the foregoing with the Clerk
of the court using the CM/ECF system, which will send notification of this filing to counsel of
record.

                                              /s/ Michelle Rupp
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